                           Case 1-15-44838-nhl
0022-47-EPIEXX-00055289-71280
                                                         Doc 21       Filed 01/25/16       Entered 01/25/16 11:34:49
                                UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF NEW YORK


In re: GUILLERMO RODRIGUEZ                                                                              Case No.: 115-44838-NHL

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Marianne De Rosa, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 10/28/2015.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 12/15/2015.
6) Number of months from filing or conversion to last payment: 0.
7) Number of months case was pending: 3.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:                 $.00
        Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                        $.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                     $.00
        Court Costs:                                                               $.00
        Trustee Expenses and Compensation:                                         $.00
        Other:                                                                     $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $.00

 Attorney fees paid and disclosed by debtor:                   $.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim               Claim       Principal           Interest
Name                                         Class           Scheduled         Asserted            Allowed     Paid                Paid
SYNCHRONY BANK                               Unsecured                   NA           NA               NA             .00                 .00




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In re: GUILLERMO RODRIGUEZ                                                                              Case No.: 115-44838-NHL

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal           Interest
Name                                       Class              Scheduled          Asserted        Allowed        Paid                Paid
WELLS FARGO BANK, NA                       Unsecured                  NA               NA              NA              .00                 .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal           Interest
                                                                                                 Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00             .00                 .00
     Mortgage Arrearage:                                                                               .00             .00                 .00
     Debt Secured by Vehicle:                                                                          .00             .00                 .00
     All Other Secured:                                                                                .00             .00                 .00
 TOTAL SECURED:                                                                                        .00             .00                 .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00             .00                 .00
     Domestic Support Ongoing:                                                                         .00             .00                 .00
     All Other Priority:                                                                               .00             .00                 .00
 TOTAL PRIORITY:                                                                                       .00             .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                           .00             .00                 .00

 Disbursements:
        Expenses of Administration:                                                                  $.00
        Disbursements to Creditors:                                                                  $.00
 TOTAL DISBURSEMENTS:                                                                                                                    $.00

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     01/08/2016                                    By:   /s/Marianne De Rosa
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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